 Case 7:02-cr-00055-EKD Document 60 Filed 10/27/21 Page 1 of 6 Pageid#: 125




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                         ROANOKE DIVISION

 UNITED STATES OF AMERICA                                   )
                                                            )      Criminal No. 7:02-cr-00055
     v.                                                     )
                                                            )      By: Elizabeth K. Dillon
 SHAWN DEVON WHITE                                          )          United States District Judge


                                 MEMORANDUM OPINION AND ORDER

          Shawn Devon White has moved for compassionate release pursuant to the First Step Act.

(Dkt. No. 52.) Pursuant to Standing Order 2019-1, the Federal Public Defender was appointed to

represent White for purposes of this motion, but declined to file a supplement in support of

White’s motion and requested that he be allowed to proceed pro se. (Dkt. Nos. 53 and 56.) The

government filed a response (Dkt. No. 58), and the court finds that no hearing on the motion is

necessary. For the reasons stated below, the court will deny White’s motion.

                                                 I. BACKGROUND

          In 2002, White was found guilty of one count of assaulting or impeding an officer, 18

U.S.C. § 111, in addition to one count of using a firearm during and in relation to a crime of

violence in violation of 18 U.S.C. § 924(c). The evidence at trial demonstrated that White

approached a United States postal carrier and asked the carrier for his wallet. The carrier

refused, and White put a gun in the carrier’s face and took his wallet. (Presentence Investigation

Report (PSR) ¶ 3, Dkt. No. 25.) White was sentenced to 64 months imprisonment on the first

count and a mandatory consecutive sentence of 84 months on the § 924(c) count. White’s

projected release date is August 2, 2022. 1




          1
              See https://www.bop.gov/inmateloc/ (last visited Oct. 27, 2021).
 Case 7:02-cr-00055-EKD Document 60 Filed 10/27/21 Page 2 of 6 Pageid#: 126




        In addition to the foregoing, White has a lengthy criminal history, including convictions

for forcible sodomy, robbery, use of a firearm in the commission of forcible sodomy, possession

of a firearm after being convicted of a felony, and rape. (PSR ¶¶ 25–26.)

        White is 38 years old. He suffers from hypertension and bronchitis. He characterizes

himself as “high risk” for diabetes but does not currently have the disease. (Dkt. No. 52-1.)

White is being housed at FCI Beckley. Currently, Beckley has one inmate and one staff member

that have tested positive for COVID-19, 2 and it has vaccinated about 75% of its inmates. 3

                                                 II. ANALYSIS

A. Compassionate Release

        United States Code Title 18, Section 3582(c)(1)(A), as amended by the First Step Act and

in pertinent part, provides that the court may not modify a term of imprisonment once it has been

imposed except that:

                  (A) the court, upon motion of the Director of the Bureau of Prisons,
                  or upon motion of the defendant after the defendant has fully
                  exhausted all administrative rights to appeal a failure of the Bureau
                  of Prisons to bring a motion on the defendant’s behalf or the lapse
                  of 30 days from the receipt of such a request by the warden of the
                  defendant’s facility, whichever is earlier, may reduce the term of
                  imprisonment (and may impose a term of probation or supervised
                  release with or without conditions that does not exceed the unserved
                  portion of the original term of imprisonment), after considering the
                  factors set forth in section 3553(a) to the extent they are applicable,
                  if it finds that –

                  (i) extraordinary and compelling reasons warrant such a
                  reduction . . . .

In addition to satisfying the above, the court must consider the applicable factors set forth in


        2
            See https://www.bop.gov/coronavirus/ (last visited Oct. 27, 2021).
        3
          Currently, 1098 of 1454 inmates at FCI Beckley have been vaccinated. See
https://www.bop.gov/coronavirus/ (last visited Oct. 27, 2021).


                                                          2
 Case 7:02-cr-00055-EKD Document 60 Filed 10/27/21 Page 3 of 6 Pageid#: 127




section 3553(a) and the reduction must be “consistent with [the] applicable policy statement

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1). However, “the Commission

has yet to issue a policy statement that applies to motions filed by defendants [rather than

motions filed by BOP] under the recently amended § 3582(c)(1)(A).” United States v. Burnell,

837 F. App’x 223, 224 (4th Cir. 2021) (quoting United States v. McCoy, 981 F.3d 271, 280–83

(4th Cir. 2020)). Therefore, a court may “consider any extraordinary and compelling reason for

release that a defendant might raise.” McCoy, 981 F.3d at 284. While the Sentencing

Commission Policy Statement in section 1B1.13 is not dispositive, it “remains helpful guidance,”

id. at 282 n.7.

        Because section 1B1.13 provides guidance and the Fourth Circuit has noted that it

provides examples and, at least in the medical context, defines “the same substantive term that

applies to BOP-filed motions,” United States v. High, 997 F.3d 181, 186 (4th Cir. 2021), the

court notes the guidance from that section. Section 1B1.13, regarding medical conditions, notes

terminal illness and conditions from which a defendant is not expected to recover that

substantially diminish defendant’s ability to care for himself in a correctional facility (including

serious physical or medical condition, serious functional or cognitive impairment, or

deteriorating physical or mental health because of the aging process). Of course, this guidance is

not controlling.

        “A defendant seeking compassionate release has the burden of establishing that such

relief is warranted.” United States v. Weaver, No. 1:17-CR-235, 2020 WL 4810123 (E.D. Va.

Aug. 18, 2020) (citing Schaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 56-57 (2005) (defendant

bears burden as party seeking relief absent statutory guidance to the contrary)). Compassionate

release is “an extraordinary and rare event.” White v. United States, 378 F. Supp. 3d 784, 787



                                                  3
 Case 7:02-cr-00055-EKD Document 60 Filed 10/27/21 Page 4 of 6 Pageid#: 128




(W.D. Mo. 2019). Rehabilitation, standing alone, “shall not be considered an extraordinary and

compelling reason” for a sentence modification. 28 U.S.C. § 994(t).

B. Exhaustion

       As noted above, while the First Step Act changed § 3582(c)(1)(A) to allow a prisoner to

bring a motion on his or her own behalf, the statute still includes an exhaustion requirement. The

court has previously found that § 3582’s exhaustion requirement is not a jurisdictional bar but is

a claims-processing rule that may be waived. See United States v. Brown, Criminal No. 7:19-cr-

00036, 2020 WL 4506798, at *3 (W.D. Va. Aug. 5, 2020). Here, White’s administrative request

for release was denied (Dkt. No. 52-1), and the government does not contest that White has

exhausted his administrative rights within the Bureau of Prisons. Therefore, the exhaustion

requirement does not stand in the way of granting relief to White.

C. Extraordinary and Compelling Reasons

       The fact that COVID-19 exists and that there is a possibility that someone may contract it

in a prison is insufficient, in and of itself, to grant a motion for compassionate release. See

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Rather, in the context of COVID-19,

       the threshold questions are whether [the inmate] has a particularized risk of
       contracting COVID-19 in prison and whether his medical conditions render him
       particularly susceptible to severe illness or death should he contract the
       virus. See High, 997 F.3d at 185 (explaining that arguments for compassionate
       release “based on the coronavirus pandemic depend at least on allegations that the
       risk of contracting COVID-19 in a prison is higher than the risk outside the prison
       and that the inmate's preexisting medical condition increases that individual's risk
       of experiencing a serious, or even fatal, case of COVID-19”).

United States v. Youngblood, 858 F. App'x 96, 98 (4th Cir. 2021).

       White argues that his health conditions, combined with the presence of positive COVID-

19 cases at FCI-Beckley, constitute extraordinary and compelling reasons for compassionate

release. One CDC list of diseases placing individuals at higher risk of severe illness due to


                                                  4
 Case 7:02-cr-00055-EKD Document 60 Filed 10/27/21 Page 5 of 6 Pageid#: 129




COVID-19 does not include hypertension, bronchitis, or being high risk for diabetes (without a

diagnosis). See Centers for Disease Control & Prevention, People with Certain Medical

Conditions, https://www/cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions-html (last visited Oct. 27, 2021). In noting conditions for health care

providers, one list does note hypertension as a possibility, supported by mixed evidence. See

Centers for Disease Control & Prevention, Underlying Medical Conditions Associated with

Higher Risk for Severe COVID-19: Information for Healthcare Providers, https://www.cdc.gov/

coronavirus/2019-ncov /hcp/clinical-care/underlying conditions.html (last visited Oct. 27, 2021).

       Even if White could establish that he has an underlying medical condition making him

more susceptible to the effects of COVID-19, it does not mean that he is entitled to

compassionate release. The court must also look at whether White has a particularized risk of

contracting COVID-19 in prison. A hypothetical possibility of a COVID-19 outbreak, however,

is insufficient to show a particularized risk of contracting COVID-19 at FCI Beckley. Currently,

FCI Beckley has one inmate and one staff member who have tested positive for COVID-19.

Additionally, it appears that the extensive COVID-19 measures taken by the Bureau of Prisons

are working at FCI Beckley. For measures, see https://www.bop.gov/recources/news/2020313

_covid-19.jsp (last visited Oct. 27, 2021). Furthermore, Beckley’s inmate vaccination rate is

good. While the court appreciates White’s concern about contracting COVID-19 in prison, he

has not shown he has a particularized risk of contracting the virus at Beckley. Therefore, White

has not shown an extraordinary and compelling reason for compassionate release, and, because

While has not met this threshold, the court need not consider the sentencing factors.

        Therefore, White has not established a justification for compassionate release.




                                                5
 Case 7:02-cr-00055-EKD Document 60 Filed 10/27/21 Page 6 of 6 Pageid#: 130




                                       III. CONCLUSION

       For the reasons stated above, it is hereby ORDERED that White’s motion for

compassionate release (Dkt. No. 52) is DENIED. The clerk is directed to provide a copy of this

order to the defendant, all counsel of record, and the United States Probation Office.

       Entered: October 27, 2021.

                                             /s/ Elizabeth K. Dillon
                                             Elizabeth K. Dillon
                                             United States District Judge




                                                 6
